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14
     Attorneys for Defendant Matthews
15   International Corporation

16
                                    UNITED STATES DISTRICT COURT
17
                               NORTHERN DISTRICT OF CALIFORNIA
18
                                          SAN JOSE DIVISION
19

20
     TESLA, INC.,                                     Case No. 24-cv-03615-EJD
21
                       Plaintiff,                     DECLARATION OF JACOB MILLER
22                                                    IN SUPPORT OF MATTHEWS’
            v.                                        OPPOSITION TO TESLA, INC.’S
23                                                    EMERGENCY MOTION FOR A
     MATTHEWS INTERNATIONAL                           TEMPORARY RESTRAINING ORDER
24   CORPORATION,

25                     Defendant.                     Date:    February 11, 2025
                                                      Time:    4:00 PM
26                                                    Place:   Courtroom 4, 5th Floor
                                                      Judge:   Hon. Edward J. Davila
27

28                         PUBLIC / REDACTED VERSION
                                                                       Miller Decl. ISO Matthews’
     24-cv-03615-EJD                            -1-
                                                                Opposition to Tesla’s Mot. for TRO
     Case 5:24-cv-03615-EJD         Document 82-1        Filed 03/06/25      Page 2 of 4



 1          I, Jacob Miller, declare as follows pursuant to 28 U.S.C. § 1746:

 2          1.     I am an attorney duly licensed to practice law in the state of New York. I have

 3    been admitted pro hac vice in this action. I am an associate at Jones Day, attorneys of record

 4    for Matthews International Corporation (“Matthews”) in this matter. I make this declaration in

 5    support of Matthews’ Opposition to Tesla, Inc.’s Emergency Motion for a Temporary

 6    Restraining Order.

 7          2.     I believe the facts stated herein to be true based upon my own personal knowledge.

 8    I could and would testify competently thereto if called and sworn as a witness.

 9          3.     Attached as Exhibit 1 is a true and correct copy of a downloaded summary from

10    Yahoo Finance of Matthews’ NASDAQ stock price from the period June 13 to June 19, 2024.

11          4.     Attached as Exhibit 2 is a true and correct copy of a report dated August 6, 2024,

12    titled “Moody’s Ratings downgrades Matthews’ CFR to B1 from Ba3 on weakening operating

13    performance.”

14          5.     Attached as Exhibit 3 is a true and correct copy of a letter from Robert Courtney to

15    Ryan Walsh, dated November 18, 2024, with the subject line

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17          6.     Attached as Exhibit 4 is a true and correct copy of Tesla’s

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21          7.     Attached as Exhibit 5 is a true and correct copy of

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24          8.     Attached as Exhibit 6 is a true and correct copy of

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26          9.     Attached as Exhibit 7 is a true and correct copy of a letter

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28
                                                                           Miller Decl. ISO Matthews’
     24-cv-03615-EJD                               -2-
                                                                    Opposition to Tesla’s Mot. for TRO
     Case 5:24-cv-03615-EJD        Document 82-1        Filed 03/06/25      Page 3 of 4



 1          10.    Attached as Exhibit 8 is a true and correct copy of an email

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 6          11.    Attached as Exhibit 9 is a true and correct copy of

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10          12.    Attached as Exhibit 10 is a true and correct copy of a downloaded summary from

11    Yahoo Finance of Matthews’ NASDAQ stock price from the period February 3 to February 8,

12    2025.

13          13.    Attached as Exhibit 11 is a true and correct copy of

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16          14.    Attached as Exhibit 12 is a true and correct copy of the United States Patent and

17    Trademark Office file wrapper for Matthews’ Application No. 62/796,333,

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20          15.    Attached as Exhibit 13 is a true and correct copy of a document

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23          16.    Attached as Exhibit 14 is a true and correct copy of excerpts from

24                                                                                                .

25          17.    Attached as Exhibit 15 is a true and correct copy of excerpts from

26

27          18.    Attached as Exhibit 16 is a true and correct copy of excerpts from Thomas

28    Hackfort’s notebook depicting the “all-in-one” machine,
                                                                          Miller Decl. ISO Matthews’
     24-cv-03615-EJD                              -3-
                                                                   Opposition to Tesla’s Mot. for TRO
     Case 5:24-cv-03615-EJD         Document 82-1        Filed 03/06/25      Page 4 of 4



 1                                          .

 2          19.    Attached as Exhibit 17 is a true and correct copy of excerpts from

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 4          20.    Attached as Exhibit 18 is a true and correct copy of a downloaded article from the

 5    Wall Street Journal, titled “Tesla Sues EV-Battery Supplier Over Alleged Disclosure of Trade

 6    Secrets,” dated June 17, 2024.

 7          21.    Attached as Exhibit 19 is a true and correct copy of a downloaded article from

 8    Reuters, titled “Tesla sues ex-supplier Matthews over EV battery trade secrets.”

 9          22.    I declare under penalty of perjury that the foregoing is true and correct.

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11          Executed in New York, New York, on February 10, 2025.

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14                                                     By:
                                                             Jacob Miller
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                                                                           Miller Decl. ISO Matthews’
     24-cv-03615-EJD                               -4-
                                                                    Opposition to Tesla’s Mot. for TRO
